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                                                                       Case No. 8:21-bk-11710-ES
         9
                                                                       Chapter 7
        10
              In re:                                                   '(%7256NOTICE OF AND MOTION
        11                                                             FOR RECONSIDERATION OF 7.21.22
        12    JAMIE LYNN GALLIAN,                                      ORDER SUSTAINING  HOUSER BROS.
                                                                       CO. '%$ RANCHO DEL REY MOBILE
        13                                                             HOME ESTATES OBJECTION TO
                                                                       DEBTOR’S CLAIMED HOMESTEAD
        14                   Debtor.
                                                                       EXEMPTION$1'
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        21    $77251(<¶62)5(&25'Please take notice of Debtors Motion for Reconsideration

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        23    +RXVHU%URV&RREMHFWLRQWR'HEWRUV&ODLPHG+RPHVWHDGZLWK

        24    DGGLWLRQDO-RLQGHU V7KH+XQWLQJWRQ%HDFK*DEOHV+RPHRZQHUV$VVRFLDWLRQDQG-DQLQH%-DVVR

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        26    7KHSXUSRVHRIEDQNUXSWF\LVWRJLYHGHEWRUVDIUHVKVWDUWE\VKHGGLQJGHEWVWKDWWKH\RZHGEXW

        27    FDQQRWSD\3DUWRIWKHIUHVKVWDUWLQFOXGHVOLHQDYRLGDQFHRQH[HPSWDVVHWV6HH5LFKDUGVRQ

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                                    FE;FD@E@LD-L9C<8J<I<:FI;<;@EK?<)==@:@8CC<IB,<:FI;JF=K?<FLEKP

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               :FDDFEN@K?8CCFNE<IJF=J<G8I8K<@EK<I<JK8E;8'<D9<IJ?@G@EK?<--)#.#)( 8J;<=@E<;
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               9P@M@CF;<J<:K@FE JL9A<:KKFK?<!FM<IE@E>F:LD<EKJF=K?<--)#.#)( 8J;<=@E<;
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                                 >   .?< <>3-6/= 90 8-9<:9<+>398 F= K?< "LEK@E>KFE <8:? !89C<J
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               8>I<<;KF9PK?<G8IK@<J8E;9<:8D<8E)I;<IF=K?<FLIKFE):KF9<I  )- 
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          K?<-L9;@M@J@FE'8G:K
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               ):KF9<I 8>8@EJK.,. /E@K    &FK&FK 8E;K?< @IJKD<E;D<EKKF
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               K?<,JI<:FI;<;;8P9<=FI<K?<K<EK8K@M<D8GN8JKF<OG@I<FE   8E;I<:FI;<;
           
               LEC8N=LCCP8=K<I8CI<@JJL<;K?<V1?@K<,<GFIKWN8J@ED@;$LCP=FIV.,.W         
           
         'FI<@DGFIK8EKCP;<K<ID@E<K?<C<>8C@KPF=V@I -G8:<FE;FD@E@LDJWFEC<8J<;C8E;@E
          M@FC8K@FEF=IK@:C<8E;"LEK@E>KFE<8:?-L9;@M@J@FE'8G)I;@E8E:<J

                 ,<HL<JKK?<.8OJJ<JJFII<=LE;8GGIFO@D8K<CPP<8IJF=FM<IG8PD<EKF=K8O<J=FI
         K?<V&8E;W8E;@E8;;@K@FEKFG8P@E>K?<GIFG<IKPK8O<J G8PD<EKJD8;<=FIV@I -G8:<
        
               JL9:FE;FD@E@LDFEC<8J<;C8E; 8CJFG8PD<EKJD8;<8>8@EJK8>IFLE;C<8J<9@CC=FIP<8IJ 
        
                      <:8LJ<GIFG<IKPF=K?<<JK8K<@E:CL;<JFECPK?<;<9KFIYJ@EK<I<JK@EK?<&& 8E;EFKK?<
        
               D8EL=8:KLI<;?FD<FNE<;9PK?<&& <9KFIYJ:C8@DF=<O<DGK@FE@J8LK?FI@Q<;LE;<IK?<
        
          C8N9<:8LJ<@K@J;<9KFIYJGI@D8IPI<J@;<E:<8E;?8J9<<EJ@E:<;<9KFIGLI:?8J<;K?<?FD<FE
          (FM<D9<I  N@K?K?<=LE;JF=?<IGI<M@FLJ?FD<JK<8;;@J:CFJ<;FE?<I@E@K@8C:?8GK<I

        G<K@K@FE ) 
        
                       LIK?<I K?<I<@J8-<:LI@KP>I<<D<EK8E;*IFD@JJFIP(FK<8>8@EJKK?<
       
               D8EL=8:KLI<;?FD<G<I=<:K<;   FEK?<=8:<F=K?<<IK@=@:8K<F=.@KC<KFK?<
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       
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                       )E$LCP V*<K@K@FE8K<W $8D@<&PEE!8CC@8EV<9KFIW=@C<;8MFCLEK8IP
         
               G<K@K@FELE;<I?8GK<IF=.@KC<F=K?</E@K<;-K8K<JF;< )EK?<J8D<;8K< 'J !8CC@8E
         
               =@C<;?<I@E@K@8C-:?<;LC<J8E;-K8K<D<EKJV)I@>@E8C-:?<;LC<JW KIL<8E;:FII<:K:FGPF=K?<
         
               )I@>@E8C-:?<;LC<J@J8KK8:?<;KFK?<<:C8I8K@FEF=$8D@<&PEE!8CC@8EV!8CC@8E<:C8I8K@FEW
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        L>LJK  :FEK@EL<;8GGIFO@D8K<CPE@E<K@D<J 
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        
               !FC;<E8E;K?<#EK<I<JK<;*8IK@<JGI<J<EK E8D<CP"FLJ<IIFJF8E;$8E@E<$8JJF JH 8E;
        
               "LEK@E>KFE<8:?!89C<J"FD<FNE<IJJJF:@8K@FEK?8K<9KFI9<C@<M<;?<IG<K@K@FEN8J
        

         @E8::LI8K<8E;J?<NFLC;9<8D<E;@E>?<IG<K@K@FE:FE:<IE@E>J<M<I8C8I<8JFE<K?8KK?<
         ,<>@JK<I<;)NE<IF=K?<'8EL=8:KLI<;"FD<8JF=K?<;8K<K?<*<K@K@FEN8J=@C<;8E;K?8K
          ;<9KFII<:<@M<;=IFD"8.@KC<-<8I:?;8K<;$LCP  N?@:?I<=C<:K<;$8D@<&PEE
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               <IK@=@:8K<F=.@KC<N8JD@JK8B<ECPI<DFM<;N?<E@KN8JFECPI<HL<JK<;'I *@<IGFEK   
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               E:LD9I8E:<9<I<DFM<; 
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                       ",@M<IJ@;<'8E8><I 'J -PCM@8ILQJGFB<KF;<9KFI@EJKIL:K<;;<9KFIN?<EJ?<
       
        I<:<@M<;K?<)I@>@E8C<IK@=@:8K<F=.@KC<=IFD-8:I8D<EKF@EK?</-'8@C N?@:?;<9KFI;@;
        I<:<@M<8GGIFO@D8K<CPL>LJK  KFK8B<K?<=FIDK?8KN8JGI@EK<;L>LJK  KF"
        @E,@M<IJ@;<KF:FII<:K8E;I< 8;;$ *8; &&  8JK?<&<>8C)NE<I98:BKFK?<
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          
          8GGIFO@D8K<CP KF",@M<IJ@;<KF:FII<:KK?<<IIFIN?@:?N8JD8;<9PK?<
          -8:I8D<EKF,<>@JKI8K@FE8E;.@KC@E><G8IKD<EK8KK?<9<>@EE@E>F=$LCP <9KFIG8@;
           9P8E8JJ@>E<;.(ELD9<I8GGIFO@D8K<CP$LCP  8E;8>8@EFEFI89FLKL>LJK
            8K",@M<IJ@;<LJ@E>8E.':8I;KFD8B<K?<:FII<:K@FEFEL>LJK 

         
               I<=C<:K<;FEK?<.@KC<-<8I:?;8K<;L>LJK GIFM@;<;9P<D8@CKF;<9KFI9P"
           
               ,@M<IJ@;<.<:?E@:@8E-8I@E8GIFM@;<;KFK?<.ILJK<< 
           
                       )EK?<G<K@K@FE;8K<$LCP  K?<I<>@JK<I<;K@KC<FNE<IF=K?<D8EL=8:KLI<;?FD<
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        CF:8K<;8K'FEK<I<P&8E< /E@K "LEK@E>KFE<8:? V*IFG<IKPWN8J
          $8D@<&PEE!8CC@8E8JF= <9IL8IP  K?<;8K<$ -8E;:8JKC<F&&J@>E<;8E;;8K<;KF

         I<C<8J<K?<<IK@=@:8K<F=.@KC<KF$8D@<&PEE!8CC@8E EFK8I@Q<;K?<J8D<;8K< 
        
                       $ -8E;:8JKC<F &&V$ -8E;:8JKC<&&WN8JJL9A<:KKFG<I=<:K<;/ =@C@E>
        
                  JLGGFIK<;9P8-<:LI@KP#EJKILD<EK8E;*IFD@JJFIP(FK<;8K<;(FM<D9<I  
        
               <O<:LK<;8K<EKI8C$LJK@:<<EK<I9<KN<<E$ -8E;:8JKC<F&& $8D@<&PEE!8CC@8E '<D9<I
        
               8E;$8D@<&PEE!8CC@8E &<E;<I8E;$ *8; && @KYJ'8E8><I8E;K?<?FC;<IF=K?<(FK<N@K?
        
          8CCC<>8CFNE<IJ $ *8; &&G<I=<:K<;LE;<I<IK@=@:8K<F=.@KC<V).WLE;<IK?<C8NJF=K?<
          -K8K<F=8C@=FIE@8 

                   <9KFIYJ-:?<;LC<J=LIK?<II<=C<:KK?8KJ?<K?<JFC<FNE<IF=$ -8E;:8JKC<&& <:8LJ<
        
               K?<&&N8JC@JK<;8JK?<I<>@JK<I<;FNE<IF=K?<D8EL=8:KLI<;?FD<FEK?<*<K@K@FE8K< K?<
       
               ;<9KFI;@J:CFJ<;K?<E8D<F=K?<&&FEK?<;<9KFIYJG<K@K@FE8E;;@J:CFJ<;FE-:?<;LC<J?<
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        @J<EK@KC<;KF8?FD<JK<8;<O<DGK@FE 
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          :FCC<:K@FE<==FIKJ <JG<:@8CCP<==FIKJKF:FCC<:K?<IG<IJFE8CI<J@;<E:< 
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          GIFG<IKPK?8K?8JEF<HL@KP9<PFE;8E<O<DGK@FE @E:CL;@E>KI8EJ=<II@E>8G<IJFE8CI<J@;<E:<
            JL9A<:KKF8C@=FIE@8YJ?FD<JK<8;<O<DGK@FE -L:?KI8EJ=<IJD8P9<<EK@I<CP<O<DGK=IFD8E
            8KK8:B8J8=I8L;LC<EKKI8EJ=<I@E8C@=FIE@8:FLIK 8CJFBEFNE8J=I8L;LC<EK:FEM<P8E:< FI
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         8E8:KL8CCP=I8L;LC<EKKI8EJ=<I8V><+8=0/<WD8;<V1@K?8:KL8C@EK<EKKF?@E;<I ;<C8P FI;<=I8L;
        
               8EP:I<;@KFIF=K?<;<9KFIWFIV1@K?FLKI<:<@M@E>8I<8JFE89CP<HL@M8C<EKM8CL<@E<O:?8E><=FI
        
               K?<KI8EJ=<IFIF9C@>8K@FES W8C@=FIE@8@M@CF;<R  I<;@KFIJ:8E8CJFJ<<BKF8MF@;
        
               8J8:FEJKIL:K@M<CP=I8L;LC<EKKI8EJ=<I8EPV><+8=0/<WD8;<VN@K?FLKI<:<@M@E>8I<8JFE89CP
        

        <HL@M8C<EKM8CL<@E<O:?8E><=FIK?<KI8EJ=<IFIF9C@>8K@FE8E;K?<;<9KFIN8J@EJFCM<EK8KK?8K
         K@D<FIK?<;<9KFI9<:8D<@EJFCM<EK8J8I<JLCKF=K?<KI8EJ=<IFIF9C@>8K@FE W8C@=FIE@8@M@C

        F;<R  
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       
        K?8KVX$<+8=0/<XD<8EJ<M<IPDF;< ;@I<:KFI@E;@I<:K 89JFCLK<FI:FE;@K@FE8C MFCLEK8IPFI
        @EMFCLEK8IP F=;@JGFJ@E>F=FIG8IK@E>N@K?8E8JJ<KFI8E@EK<I<JK@E8E8JJ<K 8E;@E:CL;<J
         G8PD<EKF=DFE<P I<C<8J< C<8J< C@:<EJ< 8E;:I<8K@FEF=8C@<EFIFK?<I<E:LD9I8E:< W
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                                   Property Profile                                                                                                       , , CA
          Property Information
          Owner(s):               Hold , Parcel                                              Mailing Address:           ,,
          Owner Phone:            Unknown                                                    Property Address:          , , CA
          Vesting Type:           N/A                                                        Alt. APN:
          County:                 Orange                                                     APN:                       178-771-03
          Map Coord:                                                                         Census Tract:
          Lot#:                                                                              Block:
          Subdivision:                                                                       Tract:                     10542
          Legal:                  N Tr 10542 Blk Lot 2 Un Hold

          Property Characteristics
          Use:                                                   Year Built / Eff. :             /                               Sq. Ft. :
          Zoning:                                                Lot Size Ac / Sq Ft:            /                               # of Units:
          Stories:                                               Improvements:                                                   Parking / #:      /
          Gross Area:                                            Garage Area :                                                   Basement Area:

          Sale and Loan Information
          Sale / Rec Date:                                       *$/Sq. Ft.:                                            2nd Mtg.:
          Sale Price:                                            1st Loan:                                              Prior Sale Amt:
          Doc No.:                                               Loan Type:                                             Prior Sale Date:
          Doc Type:                                              Transfer Date:                                         Prior Doc No.:
          Seller:                                                Lender:                                                Prior Doc Type:
         *$/Sq. Ft. is a calculation of Sale Price divided by Sq. Feet.

          Tax Information
          Imp Value:                                                                     Exemption Type:
          Land Value:                                                                    Tax Year / Area:               2019 / 04-007
          Total Value:                                                                   Tax Value:
          Total Tax Amt:                                                                 Improved:


         Property Profile                               , , CA                                                                                    11/15/2019
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